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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

______________________________________________________________________________

UNITED STATES OF AMERICA,

                        Plaintiff,                                Case No. 15-CR-54-2

v.

AMADOU CAMARA,

                        Defendant.__
______________________________________________________________________________
                   MOTION TO STAY PRISON REPORT DATE

______________________________________________________________________________

        Now comes defendant, Amadou Camara, by his attorney Gregory N. Dutch, respectfully
requests this Court to stay defendant’s prison report date, currently scheduled for March 3, 2016
at Great Plains Correctional Center, located in Hinston OK. Camara would be requesting an
additional 30 days to report. Said request is based on the attached affidavit.

        February 26, 2016

                                        Respectfully Submitted,

                                        //Gregory N. Dutch
                                        Attorney For Amadou Camara
                                        131 West Wilson Street, Suite 1201
                                        Madison, Wisconsin 53703
                                        (608)661-5100
                                        FAX: (608)259-7699
                                        E-Mail nd@mydlaw.com
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                                    CERTIFICATE OF SERVICE

        I hereby certify that on February 26, 2016, I electronically filed the foregoing with the
Clerk of Court for the United States District Court of Wisconsin, Western Division by using the
CM/ECF system. Participation in the case who are registered CM/ECF users will be served by
the CM/ECF system. I further certify that Camara in this case is not a CM/ECF user. I have
mailed the foregoing document by First Class Mail, postage prepared within 3 calendar days to
the non-CM/ ECF participant.



                                         s/Gregory N. Dutch
                                         Gregory N. Dutch
